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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                     Case No. 1:23-md-3076-KMM

  In RE

  FTX CRYPTOCURRENCY EXCHANGE
  COLLAPSE LITIGATION
                                                  /

                            ORDER SETTING STATUS CONFERENCE

          THIS CAUSE came before the Court upon Plaintiffs’ Motion for Approval of Global

  Resolution with FTX Debtors (ECF No. 742) and Plaintiffs’ Supplement to Plaintiffs’ Motion for

  Approval of Global Resolution and Renewed Request for Status Conference (ECF No. 766).

          UPON CONSIDERATION of the Motion, the pertinent portions of the record, and being

  otherwise fully advised in the premises, it is hereby ORDERED that a status conference will be held

  before the undersigned at the United States Courthouse, Wilkie D. Ferguson Jr. Building, Courtroom

  13-1, 400 N. Miami Avenue, Miami, Florida 33128, on November 14, 2024 at 2:30 p.m. Counsel

  for Plaintiffs must be physically present at the hearing. Counsel for Plaintiffs must be prepared to

  answer questions relating to the Court’s authority to grant the Motion approving the Global

  Resolution, which does not otherwise impact the rights, claims, or defenses of the MDL Defendants,

  see (ECF No. 751), and which would bind non-parties to the MDL. MDL Defendants who are

  otherwise unaffected by the proposed Global Resolution may attend but are not required to. Persons

  who are not named in this litigation but are parties in related litigation pending in other federal and

  state courts, may attend in person or by counsel, but will not be heard.

          DONE AND ORDERED in Chambers at Miami, Florida, this _____
                                                                31st day of October, 2024.




                                                      K. MICHAEL MOORE
                                                      UNITED STATES DISTRICT JUDGE

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  cc: All counsel of record




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